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 6                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
 7
 8   UNITED STATES OF AMERICA,
 9             Plaintiff,                       NO. CR-12-084-RHW-4
10             v.                               ORDER GRANTING
11                                              DEFENDANT’S MOTION TO
     CANDICE THOMPSON,                          MODIFY CONDITIONS OF
12                                              RELEASE
               Defendant.
13
14        Before the Court is Defendant’s Motion to Modify Conditions of Release.
15 ECF No. 122. The motion was heard without oral argument and on an expedited
16 basis. The Government did not file a response.
17        Defendant asks the Court to modify her conditions of release to permit her
18 to live with her stepparents, Christina Chamberlain and Robert Fry. The Court has
19 contacted Defendant’s Probation Officers in Spokane and Tacoma. They do not
20 oppose the request. Patrick Robertson, U.S. Probation, indicated that Defendant
21 has been compliant with her conditions of release. The Court finds that good cause
22 exists to grant the motion.
23        Accordingly, IT IS HEREBY ORDERED:
24        1.    Defendant’s Motion to Modify Conditions of Release (ECF No. 122) is
25 GRANTED.
26    2. Defendant’s conditions of pretrial release are modified as follows:
27             The Defendant is placed with Christina Chamberlain and
          Robert Fry, Spanaway, Washington, who agree to supervise the
28        Defendant consistent with all the conditions of release; use every

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     MODIFY CONDITIONS OF RELEASE ~ 1
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 1          effort to assure the appearance of the Defendant at all scheduled court
            proceedings; and notify the court immediately in the event the
 2          Defendant violates any conditions of release or disappears.
 3          3.   All other conditions of release shall remain in effect.
 4          4.   Defendant’s Motion to Expedite (ECF No. 124) is GRANTED.
 5          IT IS SO ORDERED. The District Court Executive is directed to enter the
 6 order and to provide copies to counsel and U.S. Probation Officer.
 7          DATED this 27th day of September, 2012.
 8
 9                                     s/Robert H. Whaley
                                    ROBERT H. WHALEY
10                                 United States District Judge
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     MODIFY CONDITIONS OF RELEASE ~ 2
